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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DIS'I`RICT OF GEORGIA

MACON DIVISION
UNITED STATES OF AMERICA : CRIMINAL NO. 5:17-CR- 59
V. : VIOLATIONS:
: 13 U.s.C. § 1594(¢)

]ESSIE LEE HALI.., ]R. : 18 U.S.C. §§ 1591(3)(1), (a)(Z), (b)(l)
CURTIS HALL 2 18 U.S.C. § 2421(&)
]ACKIE FIELDS 2 18 U.S.C. § 2

and : 18 U.S.C. § 2422(a)

LANTESIA LANIER : 18 U.S.C. § 2428
' 28 U.S.C. § 2461(€)
Defendants.
INDICTMENT

 

THE GRAND ]URY CHARGES:

COUNT ONE
(Conspiracy to Commit Sex Trafficking)

Beginning on or about ]uly 1, 2013, the exact date being unknown, and continuing
to on or about ]une 12, 2016, in the Macon Division of the Middle District of Georgia, and
elsewhere within the jurisdiction of the Court, defendants,

]ESSlE LEE HALL, ]R.,
CURTIS HALL,

]ACKIE FIELDS, and

LANTESIA LANIER,
with others known and unknown to the Grand ]ury, conspired and agreed with each
other, to knowingly, in and affecting interstate and foreign commerce, recruit, entice,
harbor, transport, provide, obtain, advertise, maintain, and solicit, by any means victims,
to Wit: ]ane Doe 1,. lane Doe 2, ]ane Doe 3, and others, and did benefit financially and by

receiving something of value from their participation in this venture, knowing and in

reckless disregard of the fact that means of force, threats of force, fraud, and coercion,

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and any combination of such means, would be used to cause said victims to engage in
commercial sex acts; all in violation of Title 18 United States Code, Section 1594(c) i/c/w
Title 18, United States Code, Sections 1591(a)(1) & (2).

COUNT TWO
(Sex Trafficking - ]ane Doe 1)

Beginning or about sometime in july 2013, the exact date being unknown, through
on or about February 23, 2016, in the Macon Division of the Middle District of Georgia,
and elsewhere Within the jurisdiction of the Court, the defendant,

]ESSIE LEE HALL, ]R.,

did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor,
transport, provide, obtain, advertise, maintain, and solicit, by any means a victim, to wit:
]ane Doe 1, and did benefit financially from his participation in this venture, knowing
and in reckless disregard of the fact that force, threats of force, fraud, and coercion, and
any combination of such means, would be used to cause ]ane Doe 1 to engage in
commercial sex acts; all in violation of Title 18, United States Code, Sections 1591(a)(1),
(a)(?), and (b)(l)-

COUNT THREE
(Transportation for Illegal Sexual Activity - ]ane Doe 1)

Beginning on or about May 8, 2015, and continuing through on or about May 12,
2015, in the Middle District of Georgia, and elsewhere within the jurisdiction of the Court,
the defendants,

]ESSIE LEE H`ALL, ]R., & CURTIS HALL,

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aided and abetted by each other, as well as by others both known and unknown to the
Grand ]ury, did knowingly transport ]ane Doe 1 in interstate commerce, that is, from
Georgia to Florida, with the intent that jane Doe 1 engage in prostitution and in any
sexual activity for which any person can be charged with a criminal offense; all in
violation of Title 18, United States Code, Sections 2421(a) and 2.

COUNT FOUR
(Transportation for Illegal Sexual Activity - ]ane Doe 1)

Beginning on or about September 21, 2015, and continuing through on or about
September 26, 2015, in the Middle District of Georgia, and elsewhere within the
jurisdiction of the Court, the defendants,

1155le LEE HALL, ]R., & ]ACI<IE FIELDs,
aided and abetted by each other, as Well as others both known and unknown to the Grand
]ury, did knowingly transport ]ane Doe 1 in interstate commerce, from Georgia to
Tennessee, Missouri, and Kentucky, With the intent that ]ane Doe 1 engage in prostitution
and in any sexual activity for which any person can be charged With a criminal offense;
all in violation of Title 18, United States Code, Sections 2421(a) and 2.

COUNT FIVE
(Transportation for Illegal Sexual Activity - ]ane Doe 1)

Beginning on or about ]anuary 16, 2016, and continuing through on or about
january 21, 2016, in the Middle District of Georgia, and elsewhere Within the jurisdiction
of the Court, the defendant,

]ESSIE LEE HALL, ]R.,

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did knowingly transport ]ane Doe 1 in interstate commerce, that is, from Georgia to South
Carolina, with the intent that ]ane Doe 1 engage in prostitution and in any sexual activity
for which any person can be charged with a criminal offense; all in violation of Title 18,
United States Code, Sections 2421(a) and 2.

COUNT SIX
(Transportation for Illegal Sexual Activil:y - ]ane Doe 1)

Beginning on or about April 17, 2016, and continuing through on or about April
29, 2016, in the Middle District of Georgia, and elsewhere Within the jurisdiction of the
Court, the defendant,

]ESSIE LEE HA[.L, ]R.,

did knowingly transport ]ane Doe 1 in interstate commerce, that is, from Georgia to South
Carolina, With the intent that ]ane Doe 1 engage in prostitution and in any sexual activity
for which any person can be charged with a criminal offense; all in violation of Title 18,
United States Code, Sections 2421(a) and 2.

COUNT SEVEN
(Sex Trafficking - ]ane Doe 2)

Beginning on or about sometime in October 2013, the exact date being unknown,
and continuing through on or about May 12, 2015, in the Macon Division of the Middle
District of Georgia, and elsewhere within the jurisdiction of the Court, the defendant,

]ESSIE LEE HALL, ]R.,
did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor,
transport, provide, obtain, advertise, maintain, and solicit, by any means a victim, to wit:

]ane Doe 2, and did benefit financially from his participation in this venture, knowing

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and in reckless disregard of the fact that force, threats of force, fraud, and coercion, and
any combination of such means, Would be used to cause ]ane Doe 2 to engage in
commercial sex acts; all in violation of Title 18, United States Code, Sections 1591(a)(1),
(a)(?), and (b)(l).

COUNT EIGI-I'I`
(Transportation for Illegal Sexual Activity - ]ane Doe 2)

Be ginning or about May 8, 2015, and continuing through on or about May 12, 2015,
in the Middle District of Georgia, and elsewhere within the jurisdiction of the Court, the
defendants,

]ESSIE LEE HALL, ]R., & CURTIS HALL,
aided and abetted by each other, as well as by others both known and unknown to the
Grand ]ury, did knowingly transport ]ane Doe 2 in interstate commerce, that is, from
Georgia to Florida, with the intent that ]ane Doe 2 engage in prostitution and in any
sexual activity for which any person can be charged with a criminal offense; all in
violation of Title 18, United States Code, Sections 2421(a) and 2.

COUNT NINE
(Inducement to Travel to Engage in Criminal Sexual Activil:y - ]ane Doe 3)

On or about May 30, 2016, in the Middle District of Georgia, and elsewhere within
the jurisdiction of the Court, the defendant,
]ESSIE LEE HALL, ]R.,
did knowingly persuade, induce, entice, and coerce a victim, to Wit: ]ane Doe 3, to travel

in interstate commerce, that is, from Ohio to Georgia, to engage in prostitution and any

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sexual activity for which any person can be charged with a criminal offense; all in
violation of Title 18, United States Code, Sections 2422(a) and 2.

COUNT TEN
(Sex Trafficking - ]ane Doe 3)

Beginning on or about May 30, 2016, and continuing through on or about june 12,
2016, in the Macon Division of the Middle District of Georgia, and elsewhere within the
jurisdiction of the Court, the defendant,

lesle LEE HALL, ]R.,

did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor,
transport, provide, obtain, advertise, maintain, and solicit, by any means a victim, to wit:
]ane Doe 3, and did benefit financially from his participation in this venture, knowing
and in reckless disregard of the fact that force, threats of force, fraud, and coercion, and
any combination of such means, would be used to cause ]ane Doe 3 to engage in
commercial sex acts; all in violation of Title 18, United States Code, Sections 1591(a)(1),

(d)(?), and (b)(l)-

FORFEITURE NOTICE
(18 U.S.C. § 1594, 18 U.S.C. § 2428, and 28 U.S.C. § 2461(c) - Criminal Forfeiture)

1. The allegations contained in Counts One through Ten of this lndictment are
hereby re-alleged and incorporated by reference into this Notice for the purpose of
alleging forfeitures to the United States of America, pursuant to the provisions of Title

18, United States Code, Section 1594 and Title 18, United States Code, Section 2428.

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2. Upon conviction of the offense(s) in violation of Title 18 United States Code,
Section 1594(c) i/ c/ w Title 18, United States Code, Sections 1591(a)(1) & (2) set forth in
Count One; Title 18, United States Code, Sections 1591(a)(1), (a)(2), and (b)(l) set forth in
Counts Two, Seven, and Ten; Title 18, United States Code, Section 2421(a) set forth in
Counts Three through Six and Eight; and / or Title 18, United States Code, Section 2422(a)
set forth in Count Nine of the lndictment, the defendant(s),

]ESSIE LEE HALL, ]R.,
CUR"I`IS HALL,

]ACKIE FIELDS, and

LANTESIA LANIER,
shall forfeit to the United States of America, pursuant to Title 18, United States Code,
Section 1594, any property, real or personal, involved in, used, or intended to be used to
commit or to facilitate the commission of the offense(s), and any property traceable to
such property; and any property, real or personal, constituting or derived from, any
proceeds obtained, directly or indirectly, as a result of the offense(s), and any property
traceable to such property; and / or pursuant to Title 18, United States Code, Section 2428,
any property, real or personal, that was used or intended to be used to commit or to
facilitate the commission of the offense(s) and any property, real or personal, constituting
or derived from any proceeds obtained, directly or indirectly, as a result of the offense(s),
including, but not limited to the following:

Electronics

A. One (1) LG Stylo 2 Cricket telephone, Model: LG-K540, Serial Number:
605CYCV0507'71, with charger;

B. One (1) Samsung, Model: SM-SSZOL(GP), IMEI: 990005850322745,
(TracFone / NO Serial Number), with charger,:

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3.

defendants:

One (1) LG Optima, Model: ]`_.G-V8425PP, Serial Number:
602CQYQ0433522;

One (1) LG Optima, Model: LG-VS425PP, Serial Number:
602CQXM0312810;

One (1), Apple 1668 IPAD, Serial Number: DMP]49FMDKPH, white face,
silver back case, and black Otter Box protective case ;

One (1), Apple 1668 lPAD, Serial Number: DKWKHlRSDI<PH, white face,
silver case, leather protective case (Damage to silver case, causing gap
between the case and glass face);

One (1), 1 GB micro SanDisk SD card/ Flash Drive with adapter;

One (l), Asus laptop, Serial Number: C5NOBC078715197, gray and black
laptop, with charger; and

One (1) HP laptop, Serial Number: 5CD44710FZ, red laptop, with no
charger.

If any property subject to forfeiture, as a result of any act or omission of the

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled With other property that cannot be divided

Without difficulty, the United States of America shall be entitled to forfeiture of substitute

property pursuant to Title 21 United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c), through Title 18, United States Code, Section 2428

and Title 18, United States Code, Section 1594.

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All pursuant to Title 18,. United States Code, Section 2428, Title 18, United States
Code, Section 1594, and Title 28, United States Code, Section 2461(c).
A TRUE BILL.
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FOREPERSON OF TI-IE GRAND IURY

G.F. PETERMAN, I[I
UNITED STATES ATTORNEY

Presented by:

STATES ATTORNEY

 

File in open court this b day of November, AD 2017.

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